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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,                         Case No. 22‐cr‐222 (1) (NEB/TNL)

                          Plaintiff,
       v.                                      ORDER ON MOTION FOR TRAVEL
                                                   OUTSIDE MINNESOTA
LIBAN YASIN ALISHIRE,

                       Defendant.



      This matter is before the Court on Defendant Liban Yasin Alishire’s Motion for

Permission to Travel to Kenya for a period of up to sixty days to assist in the sale of his

Kenyan properties to elicit the maximum value. (ECF No. 123) The sale will help with his

forfeiture and restitution obligations. The Government opposes the motion, stating there

are no conditions to ensure Defendant’s return to the United States to face sentencing.

The Government believes his family ties and prosect of facing a lengthy sentence give

him motive to flee (ECF No. 126.) The United States Probation and Pretrial Services Office

does not support a two‐month trip, but would support a one‐month trip with full details

provided beforehand and the return of Alishire’s passport within 24 hours of his return

to Minnesota. Based on all the files, records, and proceedings herein,

      IT IS HEREBY ORDERED that Defendant Liban Yasin Alishire’s Motion is

GRANTED IN PART AND DENIED IN PART. Defendant Liban Yasin Alishire may

reside temporarily in Kenya pending sentencing for a period of 30 days. The 30 days
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includes the travel time between Minnesota and Kenya. While residing in Kenya, the

Defendant will not be under supervision of the United States Probation and Pretrial

Services, but he must maintain contact with his attorney. Defendant shall comply with

all other aspects with his conditions of release, provide his US Probation and Pretrial

Services Officer with full trip details beforehand and return his passport within 24 hours

of his return to Minnesota.



Dated: October 25, 2023                            s/Nancy E. Brasel
                                                   Nancy E. Brasel
                                                   United States District Court Judge




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